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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

AMERICAN FAMILY CARE,                        )
INC. and AFC FRANCHISING,                    )
LLC d/b/a AFC/DOCTORS                        )
EXPRESS,                                     )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )       Case No. 2:15-cv-01873-JEO
                                             )
RIGHTTIME, INC.,                             )
                                             )
       Defendant.                            )

                              MEMORANDUM OPINION

       In this action, plaintiffs American Family Care, Inc. (“American Family

Care”) and AFC Franchising, LLC d/b/a AFC/Doctors Express (“AFC

Franchising”) seek a declaratory judgment that their use of the marketing phrase

“THE RIGHT CARE. RIGHT NOW.” does not violate the trademark “RIGHT

CARE AT THE RIGHT TIME” owned by defendant Righttime, Inc.

(“Righttime”). Righttime has moved the court to dismiss the action for lack of

personal jurisdiction or, in the alternative, to transfer the action to the United States

District Court for the District of Maryland. (Doc. 1 6). For the reasons discussed




1References to “Doc. __” are to the document numbers assigned by the Clerk of the Court to the
pleadings, motions, and other materials in the court file, as reflected on the docket sheet in the
court’s Case Management/Electronic Case Files (CM/ECF) system.
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below, the court concludes that it lacks personal jurisdiction over Righttime and

that this action is due to be dismissed without prejudice.2

                                       I. BACKGROUND

          Righttime is a Maryland corporation and the owner of the trademark

“RIGHT CARE AT THE RIGHT TIME” for medical services. (Complaint ¶¶ 7, 8;

Declaration of Robert G. Graw, Jr. (“Graw Decl.”) ¶¶ 3, 5).3 Righttime has no

business operations or employees in Alabama, does not provide services in

Alabama, and does not bill any insurers located in Alabama. (Graw Decl. ¶ 4;

Second Declaration of Robert G. Graw, Jr. (“Second Graw Decl.”) ¶ 4).4

          American Family Care is an Alabama corporation and AFC Franchising is

an Alabama limited liability company. (Complaint ¶¶ 5, 6). American Family

Care and AFC Franchising (collectively, “AFC”) operate a national network of

medical clinics. (Complaint ¶ 8). There are three AFC franchises in Maryland.

(Declaration of Randy Johansen (“Johansen Decl.”) ¶ 4).5 AFC has used the

marketing phrase “THE RIGHT CARE. RIGHT NOW.” since 2008. (Complaint ¶

8).


2   The parties have consented to magistrate judge jurisdiction. (Doc. 18).
3
 The complaint, which is located at Doc. 1, has two paragraphs 7 and two paragraphs 8. The
Declaration of Robert G. Graw, Jr. is located at Doc. 6-1.

4   The Second Declaration of Robert G. Graw, Jr. is located at Doc. 20-1.

5   The Declaration of Randy Johansen is located at Doc. 19-4.
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      In November 2014, Righttime sent a letter to AFC’s office in Alabama,

advising AFC that Righttime was the owner of the trademark “THE RIGHT CARE

AT THE RIGHT TIME” and asserting that AFC’s use of the phrase “THE RIGHT

CARE. RIGHT NOW.” conflicted with Righttime’s trademark. Righttime

requested AFC to refrain from further use of the phrase “THE RIGHT CARE.

RIGHT NOW.” (Complaint ¶ 9; Doc. 1-5).

      AFC, through its Alabama counsel, responded to Righttime’s letter in

December 2014. In its letter response, AFC asserted that it was not infringing on

Righttime’s trademark and advised Righttime that it was prepared to “vigorously

defend itself and take all necessary measures to do so.” (Complaint ¶ 10; Doc. 1-

6).

      In February 2015, Righttime’s counsel responded by letter to AFC’s

counsel, again requesting AFC to cease and desist from any further use of the

phrase “THE RIGHT CARE. RIGHT NOW.” (Doc. 19-3 at 13-14). Over the next

several months the parties’ attorneys communicated by telephone and by email in

an effort to settle the parties’ dispute, but ultimately their efforts were

unsuccessful. (Complaint ¶¶ 10-11; Doc. 19-3 at 16-20). AFC then filed this

declaratory judgment action against Righttime.




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                             II. STANDARD OF REVIEW

       Righttime, a nonresident defendant, has moved the court to dismiss this

action for lack of personal jurisdiction over Righttime. 6 (Doc. 6). As the plaintiff,

AFC bears the burden of establishing a prima facie case of personal jurisdiction

over Righttime. PVC Windoors, Inc. v. Babbitbay Beach Constr., N.V., 598 F.3d

802, 810 (11th Cir. 2010). “When the issue of personal jurisdiction is decided on

the evidence, but without a discretionary hearing, a plaintiff demonstrates a ‘prima

facie case of personal jurisdiction’ by submitting evidence sufficient to defeat a

motion [for judgment as a matter of law] made pursuant to Rule 50(a) of the

Federal Rules of Civil Procedure.” Giraldo v. Drummond Co., Inc., 2012 WL

2358306, *1 (N.D. Ala. June 20, 2012). Where the evidence conflicts, the court

construes all reasonable inferences in favor of the plaintiff. Id.; see PVC

Windoors, 598 F.3d at 810 (“ ‘[W]here the evidence presented by the parties’

affidavits and deposition testimony conflicts, the court must construe all reasonable

inferences in favor of the non-movant plaintiff.’ ” (citation omitted)). If such

inferences are sufficient to defeat a motion for judgment as a matter of law, the

court must find that jurisdiction exists. PVC Windoors, 598 F.3d at 810.




6In the alternative, Righttime has moved the court to transfer this action to the United States
District Court for the District of Maryland. (Doc. 6). Because the court has determined that
Righttime’s motion to dismiss is due to be granted for the reasons discussed below, the court will
pretermit any discussion of Righttime’s alternative motion to transfer.
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                                    III. ANALYSIS

A.     Specific Personal Jurisdiction

       In its complaint, AFC alleges that this court has specific personal

jurisdiction over Righttime. (Complaint ¶ 3). Specific jurisdiction “arises out of a

party’s activities in the forum that are related to the cause of action alleged in the

complaint.” Consolidated Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th

Cir. 2000). AFC asserts that the court has specific personal jurisdiction over

Righttime because “Righttime sent a cease and desist letter to [AFC] regarding the

subject matter of this lawsuit and [has] had numerous other written and verbal

communications” with AFC’s Alabama counsel regarding the same. (Complaint ¶

3). Righttime, in contrast, insists that such activities do not subject it to specific

personal jurisdiction in this district.

       As District Judge R. David Proctor has explained:

              The determination of personal jurisdiction over a nonresident
       defendant requires a two-part analysis. See Cable/Home
       Communication Corp. v. Network Productions, Inc., 902 F.2d 829,
       855 (11th Cir. 1990); see also Alexander Proudfoot Co. World
       Headquarters L.P. v. Thayer, 877 F.2d 912, 919 (11th Cir. 1989).
       First, the jurisdictional question under the state long-arm statute is
       considered. See Cable/Home Communication Corp., 902 F.2d at 855;
       see also Alexander Proudfoot Co., 877 F.2d at 919. If there is a basis
       for the assertion of personal jurisdiction under the state statute, that is,
       minimum contacts with the forum, the next determination to be made
       is whether sufficient minimum contacts exist to satisfy the Due
       Process Clause of the Fourteenth Amendment so that “maintenance of
       the suit does not offend ‘traditional notions of fair play and substantial
       justice.’ ” International Shoe Co. v. Washington, 326 U.S. 310, 316,
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      66 S. Ct. 154, 90 L. Ed. 95 (1945) (quoting Milliken v. Meyer, 311
      U.S. 457, 463, 61 S. Ct. 339, 85 L. Ed. 278 (1940)); see also
      Cable/Home Communication Corp., 902 F.2d at 855; Alexander
      Proudfoot Co., 877 F.2d at 919.

Giraldo, 2012 WL 2358306 at *3. Here, Alabama’s long-arm statute authorizes

the assertion of personal jurisdiction to the extent it is “not inconsistent with the

constitution of this state or the Constitution of the United States.” ALA. R. CIV. P.

4.2(b). This provision “extends the jurisdiction of [Alabama’s] courts to the

permissible limits of due process.” Martin v. Robbins, 628 So. 2d 614, 617 (Ala.

1993) (citing former ALA. R. CIV. P. 4.2(a)(2)(i)). The decisive issue, therefore, is

whether Righttime has sufficient minimum contacts with Alabama to satisfy the

requirements of due process.

      To constitute minimum contacts for purposes of specific personal

jurisdiction, Righttime’s contacts with Alabama must satisfy three criteria. See

SEC v. Carrillo, 115 F.3d 1540, 1542 (11th Cir. 1997). First, the contacts must be

related to AFC’s cause of action or have given rise to it. Id. Second, the contacts

must involve some act by which Righttime purposefully availed itself of the

privilege of conducting activities within Alabama, thus invoking the benefits and

protections of its laws. Id. Third, the contacts must be such that Righttime should

have reasonably anticipated being haled into court in Alabama. Id.

       As noted above, Righttime’s contacts with Alabama consist of an initial

cease-and-desist letter sent to AFC’s office in Alabama followed by subsequent
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written and telephonic communications with AFC’s Alabama counsel, all related to

Righttime’s assertion that AFC’s use of the marketing phrase “THE RIGHT

CARE. RIGHT NOW.” infringes on Righttime’s “RIGHT CARE AT THE RIGHT

TIME” trademark. Nowhere in Righttime’s motion to dismiss does Righttime

dispute that these contacts relate to AFC’s cause of action. However, Righttime

argues that its contacts do not demonstrate “purposeful availment of the benefits of

Alabama law” such that it is subject to personal jurisdiction here. (Doc. 6 at 6).

Righttime argues that its “communications directed to AFC in Alabama were made

with the intent to stop AFC from infringing [its] trademark rights, not to start a

relationship with AFC or Alabama.” (Id. (underlining in original)).

      In support of its argument, Righttime cites a number of federal court

decisions holding that cease-and-desist letters alone are insufficient to establish

personal jurisdiction over nonresident defendants seeking to enforce trademark or

patent rights. See Kehm Oil Co. v. Texaco, Inc., 537 F.3d 290, 301 (3d Cir. 2008)

(“the fact that Chevron sent Kehm a cease and desist letter does not rise to the level

of purposeful availment for purposes of jurisdiction in Pennsylvania, since the

letter expresses the goal not to do business in Pennsylvania”); Avocent Huntsville

Corp. v. Aten Int’l Co., 552 F.3d 1324, 1333 (Fed. Cir. 2008) (“ ‘A patentee should

not subject itself to personal jurisdiction in a forum solely by informing a party

who happens to be there of suspected infringement.’ ” (quoting Red Wing Shoe Co.


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v. Hockerson-Halberstadt, Inc., 148 F.3d 1355, 1361 (Fed. Cir. 1998)); Music

Makers Holdings, LLC v. Sarro, 2010 WL 2807805, *6 (D. Md. July 15, 2010)

(“Consistent with the overwhelming weight of the case law, the Court concludes

that cease-and-desist letters alone are not sufficient to invoke specific personal

jurisdiction in an action for trademark infringement.”); see also Electronics for

Imaging, Inc. v. Coyle, 340 F.3d 1344, 1351 (Fed. Cir. 2003) (“[M]ere threats of

infringement are not sufficient to satisfy due process requirements when exercising

jurisdiction over an out-of-state patentee. … Rather, ‘other activities’ distinct from

threats of infringement are required for a patentee to be subject to personal

jurisdiction in the forum.”); Sportschannel New England Ltd. P’ship v. Fancaster,

Inc., 2010 WL 3895177, *9 (D. Mass. Oct. 1, 2010) (“the mailing (or emailing) of

‘cease and desist’ letters … alone cannot constitute purposeful availment under due

process.”).7

       Tellingly, AFC’s opposition to Righttime’s motion to dismiss does not

mention, much less attempt to distinguish, any of the cases cited by Righttime.

Instead, AFC argues that “in tort cases, the ‘purposeful availment’ prong [of the

minimum contacts analysis] may be satisfied if an out-of-forum defendant merely

engages in conduct aimed at, and having effect in, the situs state.” (Doc. 19 at 7


7Cf. Virgin Health Corp. v. Virgin Enter. Ltd., 393 F. App’x 623, 626 (11th Cir. 2010) (holding
that the defendant’s act of sending a cease-and-desist letter into Florida, by itself, did not mean
that the defendant was doing business in Florida for purposes of Florida’s long-arm statute).
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(emphasis supplied)). In support of its argument, AFC cites Trinetics Int’l v. DHL

Air & Ocean Gen. Transp., 2013 WL 24067 (N.D. Ala. Jan. 2, 2013). In Trinetics,

District Judge Lynwood Smith determined that a foreign defendant that had

guaranteed and promised to pay a debt owed to an Alabama corporation was

subject to specific personal jurisdiction in Alabama in a suit alleging promissory

fraud. Id. Here, in contrast, there is no allegation that Righttime has committed

fraud or any other tort against AFC, whether in Alabama or elsewhere. Indeed,

AFC concedes in its opposition that its lawsuit “is not one for intentional tort” and

that the gravamen of the parties’ dispute is whether AFC is infringing upon

Righttime’s trademark. (Doc. 19 at 8).

      In line with the “overwhelming weight of the case law,” the court finds that

Righttime’s contacts with Alabama are insufficient to subject it to specific personal

jurisdiction in this forum. As AFC alleges in its complaint and opposition, and as

the evidence bears out, Righttime’s contacts with Alabama consist of a cease-and-

desist letter to AFC and follow-up communications with AFC’s counsel. In this

regard, the court notes that the communications with AFC’s counsel reflect the

parties’ joint efforts to settle their trademark disagreement. (See Doc. 19-3 at 16-

20). The court also notes that it was AFC, not Righttime, that promised to

“vigorously defend itself and take all necessary measures to do so.” (Doc. 1-6).

There is no evidence that Righttime ever indicated an intent to avail itself of the


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Alabama judicial system or the benefits and protections of Alabama law, and no

evidence that it ever did so.8 Accordingly, the court concludes that this action is

due to be dismissed without prejudice for lack of personal jurisdiction over

Righttime.

B.     AFC’s Request for Limited Discovery

       In its opposition to Righttime’s motion to dismiss, AFC requests, in the

alternative, that it be allowed to conduct limited discovery on the issue of personal

jurisdiction over Righttime. (Doc. 19 at 9-10). As AFC acknowledges, whether to

allow discovery is discretionary with the court. See Henriquez v. El Pais

Q’Hubocali.com, 500 F. App’x 824, 830 (11th Cir. 2012). After careful

consideration of AFC’s request, the court finds that the request is due to be denied.

       Righttime’s Chief Executive Officer, Robert G. Graw, Jr., has submitted

two declarations in support of Righttime’s motion to dismiss. In both declarations,

Graw states that Righttime has no business operations or employees in Alabama

and does not provide services in Alabama. (Graw Decl. ¶ 4; Second Graw Decl. ¶

6). AFC does not challenge this evidence, and it concedes that it is unaware of any

facts that would give rise to general jurisdiction over Righttime in Alabama. (Doc.

19 at 2 n.1). AFC argues, however, that “it is reasonable to infer that [Righttime]


8Because the court has determined that Righttime’s contacts with Alabama do not satisfy the
“purposeful availment” prong of the minimum contacts analysis, the court need not determine
whether Righttime should have reasonably anticipated being haled into court here.
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may have continuous and systematic contacts with Alabama residents seeking

urgent care at its facilities, and by routinely directing its billing to Alabama for

services rendered to Blue Cross Blue Shield of Alabama insureds.” (Id.) Graw has

refuted these inferences, which, whether reasonable or not, are not evidence. In his

second declaration, Graw states that to the best of his knowledge and upon

reasonable investigation, “Righttime has never provided services to a citizen of

Alabama at any Righttime facility.” (Second Graw Decl. ¶ 5). He also states that

“Righttime does not bill and has not billed any insurer located in Alabama.” (Id. ¶

4). Based on these declarations, the court sees no point in allowing even limited

discovery on these issues.

      Moreover, even if AFC’s speculation about Righttime’s contacts with

Alabama residents and billings to Alabama insurers were true, the court is satisfied

that such contacts would not give rise to personal jurisdiction over Righttime.

Establishing personal jurisdiction over a corporation based on its contacts with the

forum state unrelated to the underlying cause of action (i.e. general personal

jurisdiction) requires that the corporation’s affiliations with the state are “so

‘continuous and systematic’ as to render [it] essentially at home in the forum

State.” Daimler AG v. Bauman, 134 S. Ct. 746, 761 (2014) (quoting Goodyear

Dunlop Tires Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011)). A

corporation is subject to general jurisdiction in the forum where it is incorporated


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and in the forum where it has its principal place of business, and general

jurisdiction in any other forum is appropriate only in an “exceptional case.” Id. at

760-61, n.19. Even if the evidence obtained through discovery were to establish

that Righttime regularly provides treatment to Alabama residents at its facilities

outside of Alabama and that Righttime routinely directs billing to insurers in

Alabama—which would be in direct contradiction to Graw’s declarations—such

evidence would not render Righttime “essentially at home” in Alabama so as to

subject it to general personal jurisdiction in this forum. Again, the court finds no

justification for allowing AFC to conduct even limited jurisdictional discovery.

                                IV. CONCLUSION

      For the foregoing reasons, Righttime’s’ motion to dismiss (doc. 6) is due to

be granted; Righttime’s alternative motion to transfer is moot; and AFC’s motion

for limited discovery on personal jurisdiction (doc. 19) is due to be denied. An

order consistent with this opinion will be entered.

      DONE, this the 14th day of April, 2016.




                                       _________________________________
                                       JOHN E. OTT
                                       Chief United States Magistrate Judge




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